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                                  3                                 UNITED STATES DISTRICT COURT

                                  4                             NORTHERN DISTRICT OF CALIFORNIA

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                                         WHATSAPP INC., et al.,
                                  7                                                    Case No. 19-cv-07123-PJH
                                                      Plaintiffs,
                                  8
                                                v.                                     ORDER RE MOTION TO CLOSE
                                  9                                                    HEARING
                                         NSO GROUP TECHNOLOGIES
                                  10     LIMITED, et al.,                              Re: Dkt. 455

                                  11                  Defendants.

                                  12
Northern District of California
 United States District Court




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                                  14         Defendants have filed an administrative motion to close the courtroom to the
                                  15   public for the November 7, 2024 hearing on the parties’ cross-motions for summary
                                  16   judgment and plaintiffs’ motion for sanctions. See Dkt. 455. Plaintiffs have filed an
                                  17   opposition to the motion. See Dkt. 458.
                                  18         “Those who seek to maintain the secrecy of documents attached to dispositive
                                  19   motions must meet the high threshold of showing that ‘compelling reasons’ support
                                  20   secrecy.” Kamakana v. City and County of Honolulu, 447 F.3d 1172, 1180 (9th Cir.
                                  21   2006). The “compelling reasons” standard is higher than the “good cause” standard
                                  22   applicable to non-dispositive motions. See id. (“It is important to emphasize the
                                  23   difference between the ‘compelling reasons’ standard and the ‘good cause’ standard.”).
                                  24         In connection with past, non-dispositive motions, the court has granted requests to
                                  25   close hearings to the public. However, based on the material presented in the briefs and
                                  26   in the accompanying motions to seal, the court does not believe that closing the
                                  27   courtroom for the November 7 hearing is justified under the applicable “compelling
                                  28   reasons” standard. Accordingly, defendants’ motion to close the courtroom for the
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                                  1    November 7 hearing is DENIED.

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                                  3          IT IS SO ORDERED.

                                  4    Dated: November 6, 2024

                                  5                                             /s/ Phyllis J. Hamilton
                                                                            PHYLLIS J. HAMILTON
                                  6                                         United States District Judge
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Northern District of California
 United States District Court




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